339 F.2d 597
    Ronald W. KEISER, Appellant,v.Richard P. HARTMAN, Rocco F. Denice, Stephen J. Wurn, Jr., F. Rene Gossiaux, Chester J. Tyson, Jr., Agnes C. Sullivan and Joseph D. Loughrin.
    No. 14841.
    United States Court of Appeals Third Circuit.
    Argued November 16, 1964.
    Decided December 21, 1964.
    
      Herman A. Adler, Ewart, Lomell, Muccifori &amp; Adler, Toms River, N. J., for appellant.
      Edward Berlin, Dept. of Justice, Appellate Sec't., Civil Division, Washington, D. C., John W. Douglas, Asst. Atty. Gen., David M. Satz, Jr., U. S. Atty., Morton Hollander, Attorney, Department of Justice, Washington, D. C., for appellees.
      Before MARIS, STALEY and GANEY, Circuit Judges.
      PER CURIAM.
    
    
      1
      The plaintiff, a former employee of the Department of Agriculture, appeals from a judgment of the district court dismissing his complaint against seven fellow employees of the Department seeking damages for alleged libel and other tortious conduct. The plaintiff conceded that the defendants' acts were within the outer perimeter of their line of duty as Federal employees. The action of the district court was based upon its conclusion that the acts were accordingly absolutely privileged under the rule laid down by the Supreme Court in Barr v. Matteo, 1959, 360 U.S. 564, 575, 79 S.Ct. 1335, 3 L.Ed.2d 1434. The district court rightly held that Barr v. Matteo rules this case and its action in dismissing the complaint must be affirmed. Indeed counsel for the plaintiff frankly conceded as much at bar, his expressed hope being to persuade the Supreme Court on certiorari to overrule that decision. This the Supreme Court may do if so advised, but we may not.
    
    
      2
      The judgment of the district court will be affirmed.
    
    